Case 1:04-cv-10981-PBS Document 65-5 Filed 03/25/05 Page 1 of 22

EXHIBIT A
Part 4 of 4
Case 1:04-cv-10981-PBS Document 65-5 Filed 03/25/05 Page 2 of 22

(a) Using or employing fraud, false pretense, false promise, or
misrepresentation, in violation of § 815 Ill. Comp. Stat. 505/2;

(b) Concealing, suppressing, or omitting material facts, with the intent that
others rely on such concealment, suppression, or omission of such material facts in the
conduct of trade or commerce, in violation of § 815 Ill. Comp. Stat. 505/2;

(c) Representing that merchandise had sponsorship or approval that it did not
have and representing that Defendants had sponsorship, approval, status, affiliation,
connection, qualifications, or license that they did not have, in violation of § 815 II.
Comp. Stat. 505/2.

276. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs
HCSC and Trustmark are entitled to an award of all damages, including, but not limited to,
Plaintiffs’ losses, Defendants’ ill-gotten profits, punitive damages, interest, and reimbursement
of all costs, attorneys’ fees and expenses incurred by Plaintiffs in this action.

COUNT XXXI
Unfair and Deceptive Trade Practices by Defendants In

Violation of the Mlinois Uniform Deceptive Trade Practices Act
on Behalf of Plaintiffs HCSC and Trustmark

277. Plaintiffs HCSC and Trustmark incorporate and reaver by reference the averments
contained in the preceding paragraphs 1 through 276.

278. Defendants have violated the Illinois Uniform Deceptive Trade Practices Act,
§ 815 Il. Comp. Stat. 510/1 ef seq., by engaging in unfair methods of competition and unfair or
deceptive acts or practices and deceptive trade practices.

279. HCSC and Trustmark are “persons,” within the meaning of § 815 Ill. Comp. Stat.
510/1(5).

280. Defendants are “persons,” within the meaning of § 815 III. Comp. Stat. 510/1(5).

53
Word 20113683.1
Case 1:04-cv-10981-PBS Document 65-5 Filed 03/25/05 Page 3 of 22

281. Defendants have engaged in unfair methods of competition and unfair or
deceptive acts or practices, by knowingly, or failing to exercise due care in knowingly:

(a) Representing that merchandise had sponsorship or approval that it did not
have and representing that Defendants had sponsorship, approval, status, affiliation,
connection, qualifications, or license that they did not have, in violation of § 815 II.
Comp. Stat. 510/2(a)(5).

282. As a direct and proximate result of Defendants’ unlawful conduct, HCSC are
Trustmark are entitled to an award of all damages, including, but not limited to, Plaintiffs’
losses, Defendants’ ill-gotten profits, punitive damages, interest, and reimbursement of all costs,
attorneys’ fees, and expenses incurred by Plaintiffs in this action.

COUNT XXXII

Unfair and Deceptive Trade Practices by Defendants In Violation of the Louisiana Unfair
Trade Practices and Consumer Protection Act on Behalf of Plaintiff BCBS Louisiana

283. Plaintiff BCBS Louisiana incorporates and reavers by reference the averments
contained in the preceding paragraphs 1 through 282.

284. Defendants have violated the Louisiana Unfair Trade Practices and Consumer
Protection Act, La. Rev. Stat. §§ 51:1401 er seg. (2004), by knowingly, or with reason to know,
using or employing unfair methods of competition and unfair or deceptive methods, acts, or
practices in the conduct of trade or commerce.

285. Plaintiff BCBS Louisiana is a “person,” within the meaning of La. Rev. Stat.
§ 51:1402(8).

286. Defendants are “persons,” within the meaning of La. Rev. Stat. § 51:1402(8).

287. Defendants’ acts affected or involved “trade” or “commerce,” within the meaning

of La. Rev. Stat. § 51:1402(9).

54
Word 20113683.1
Case 1:04-cv-10981-PBS Document 65-5 Filed 03/25/05 Page 4 of 22

288. The conduct of Defendants as herein alleged was done “knowingly,” within the
meaning of La. Rev. Stat. § 51:1402(10).

289. As a direct and proximate result of Defendants’ use or employment of unfair
methods of competition and unfair or deceptive methods, acts, or practices in the conduct of
trade or commerce, Plaintiff BCBS Louisiana has suffered significant losses and costs, and will
continue to do so.

290. Asa direct and proximate result of Defendants’ unlawful conduct, Plaintiff BCBS
Louisiana is entitled to an award of all damages, including, but not limited to, Plaintiff’s losses,
Defendants’ ill-gotten profits, treble damages, interest, and reimbursement of all costs, attorneys’
fees, and expenses incurred by Plaintiff in this action.

COUNT XXXHI

Unfair and Deceptive Trade Practices by Defendants In Violation of the
Maryland Consumer Protection Act on behalf of Plaintiff CareFirst

291. Plaintiff CareFirst incorporates and reavers by reference the averments contained
in the preceding paragraphs 1 through 290.

292. Defendants have violated the Maryland Consumer Protection Act, Md. Code Ann.
Com. Law §§ 13-101 ef seg. (2003), by knowingly, or with reason to know, engaging in unfair or
deceptive trade practices, within the meaning of Md. Code Ann. Com. Law § 13-101(k).

293. Plaintiff CareFirst is a “person,” within the meaning of Md. Code Ann. Com. Law
§ 13-101(h), and a “consumer,” within the meaning of Md. Code Ann. Com. Law § 13-101(c).

294. Defendants are “persons,” within the meaning of Md. Code Ann. Com. Law § 13-

101 (h).

295. Neurontin and generic bioequivalents of Neurontin are “merchandise” within the

meaning of Md. Code Ann. Com. Law § 13-101(f).

35
Word 20113683.1
Case 1:04-cv-10981-PBS Document 65-5 Filed 03/25/05 Page 5 of 22

296. Defendants engaged in “sales,” within of the meaning of Md. Code Ann. Com.
Law § 13-101().

297. Defendants have engaged in unfair or deceptive trade practices by, knowingly or
with reason to know:

(a) Making false, falsely disparaging, or misleading oral or written statement,
visual description, or other representation of various kinds that have the capacity,
tendency, or effect of deceiving or misleading consumers;

(b) | Representing that consumer goods have sponsorship, approval, or
characteristic that they do not have;

(c) Representing that Defendants, as merchants, sponsorship, approval, status,
affiliation, or connection, that they did not have

(d) . Failing to state a material fact and the failure deceive or tended to deceive;

(e) Making false or misleading representations of fact that concerned a price
in comparison to a price of a competitor or to one’s own price at a past or future time;

(f) Using or employing deception, fraud, false pretense, false premise
misrepresentation, or knowing concealment, suppression, or omission of material facts
with the intent that a consumer rely on the same in connection with the promotion or sale
of any consumer goods.

298. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiff
CareFirst is entitled to an award of all damages, including, but not limited to, Plaintiffs losses,
Defendants’ ill-gotten profits, interest, and reimbursement of all costs, attorneys’ fees, and

expenses incurred by Plaintiff in this action.

56
Word 20113683.
Case 1:04-cv-10981-PBS Document 65-5 Filed 03/25/05 Page 6 of 22

COUNT XXXIV

Unfair and Deceptive Trade Practices by Defendants In Violation of
Massachusetts’ Consumer Protection Act on Behalf of Plaintiff BCBS Massachusetts

299. Plaintiff BCBS Massachusetts incorporates and reavers by reference the
averments contained in preceding paragraphs 1 through 298.

300. Defendants have violated the Massachusetts Consumer Protection Act, Mass.
Gen. Laws ch. 93A, § 2 (2004), by knowingly, or with reason to know, engaging in unfair
methods of competition and unfair or deceptive acts or practices in the conduct of trade or
commerce.

301. Plaintiff BCBS Massachusetts is a “person” under Chapter 93A, § 1(a) and is
entitled to pursue an action under Section 9 of the Massachusetts Consumer Protection Act as a
non-profit entity that does not engage in the conduct of trade or commerce. Mass Gen. Laws ch.
93A, § 9.

302. Defendants’ unlawful conduct directly resulted in increased payments by Plaintiff
BCBS Massachusetts for Neurontin or generic bioequivalents of Neurontin.

303. Defendants’ above-described conduct was a willful, flagrant and knowing
violation of Section 2 of the Massachusetts Consumer Protection Act. Mass. Gen. Laws ch. 93A,
§2. Asa result, Plaintiff BCBS Massachusetts is entitled to up to three times the actual damages
sustained, in an amount to be proven at trial, as well as reasonable attorneys’ fees and costs,
against Defendants, jointly and severally. Mass. Gen. Laws ch. 93A, § 9(3), (3A), (4).

COUNT XXXV

Unfair and Deceptive Trade Practices by Defendants In Violation of the
Michigan Consumer Protection Act on Behalf of Plaintiff BCBS Michigan

304. Plaintiff BCBS Michigan incorporates and reavers by reference the averments

contained in the preceding paragraphs 1 through 303.

57

Word 20113683.1
Case 1:04-cv-10981-PBS Document 65-5 Filed 03/25/05 Page 7 of 22

305. Defendants have violated the Michigan Consumer Protection Act, Mich. Comp.
Laws §§ 445.901 et seq. (2004), by engaging in unfair, unconscionable, or deceptive methods,
acts or practices in conduct of trade or commerce.

306. Plaintiff BCBS Michigan is a “person,” within the meaning of Mich. Comp. Laws
§ 445.902(c).

307. Defendants are “persons,” within the meaning of Mich. Comp. Laws
§ 445.902(c).

308. Defendants’ acts were in the conduct of “trade” or “commerce” within the
meaning of Mich. Comp. Laws § 445.902(d).

309. Defendants have engaged in unfair, unconscionable, or deceptive methods, acts or
practices in conduct of trade or commerce, knowingly or with reason to know by:

(a) Representing that goods had sponsorship or approval that it did not have
and representing that Defendants had sponsorship, approval, status, affiliation,
connection, qualifications, or license that they did not have, in violation of Mich. Comp.
Laws § 445.903(e);

(b) Failing to reveal a material fact, the omission of which tends to mislead or
deceive the consumer, and which fact could not reasonably be known by the consumer, in
violation of in violation of Mich. Comp. Laws § 445.903(s).

310. As a direct and proximate result of Defendants’ unfair or deceptive trade
practices, Plaintiff BCBS Michigan has suffered significant losses and costs, and will continue to
do so.

311. Asa direct and proximate result of Defendants’ unlawful conduct, Plaintiff BCBS

Michigan is entitled to an award of all damages, including, but not limited to, Plaintiff’s losses,

58
Word 20113683.1
Case 1:04-cv-10981-PBS Document 65-5 Filed 03/25/05 Page 8 of 22

Defendants’ ill-gotten profits, interest, and reimbursement of all costs, attorneys’ fees, and
expenses incurred by Plaintiff in this action.
COUNT XXXVI
Unfair and Deceptive Trade Practices by Defendants In Violation
of the Minnesota Uniform Deceptive Trade Practices Act on Behalf
of Plaintiffs BCBS Minnesota and Federated Insurance

312. Plaintiffs BCBS Minnesota and Federated Insurance incorporate and reaver by
reference the averments contained in the preceding paragraphs 1 through 311.

313. Defendants have violated the Minnesota Deceptive Trade Practices Act, Minn.
Stat. 55 325D.43 to .48 (2003), knowingly, or with reason to know, by:

(a) Engaging in a campaign of misrepresentation and misinformation
concerning the Neurontin or generic bioequivalents of Neurontin.

(b) Representing that goods had sponsorship, characteristics, uses, benefits or
approval that they did not have.

(c) Representing that Defendants had sponsorship, approval, affiliation,
connections, qualification, and licensing that they did not have.

(d) Otherwise creating a likelihood of confusion or of misunderstanding
related to Neurontin and generic bioequivalents of Neurontin.

314. As a direct and proximate result of Defendants’ unlawful methods, acts, and
practices, Plaintiffs BCBS Minnesota and Federated Insurance have suffered losses and costs,
and will continue to do so.

315. Asa direct and proximate result of Defendants’ unlawful conduct, Plaintiff BCBS
Minnesota and Federated Insurance are entitled to an award of all damages, including, but not
limited to, Plaintiffs’ losses, Defendants’ ill-gotten profits, treble damages, interest, and
reimbursement of all costs, attorneys’ fees, and expenses incurred by Plaintiffs in this action.

59
Word 20113683.1
Case 1:04-cv-10981-PBS Document 65-5 Filed 03/25/05 Page 9 of 22

COUNT XXXVII

Unfair and Deceptive Trade Practices by Defendants In Violation of the Minnesota
Prevention of Consumer Fraud Act on Behalf of Plaintiff BCBS Minnesota

316. Plaintiff BCBS Minnesota incorporates and reavers by reference the averments
contained in the preceding paragraphs 1 through 315.

317. Defendants have violated the Minnesota Prevention of Consumer Fraud Act,
Minn. Stat. §§ 325F.68 et seg. (2003), by knowingly, or with reason to know, engaging in unfair
and deceptive practices, fraud, false pretense, false promise, misleading statements, and
misrepresentation, with the intent that others rely thereon in connection with the sale of
prescription drugs.

318. Plaintiff BCBS Minnesota is a “person,” within the meaning of Minn. Stat.
§ 325F.68(3).

319. Defendants are “persons” within the meaning of Minn. Stat. § 325F.68(3).

320. Neurontin and generic bioequivalents of Neurontin are “merchandise” within the
meaning of Minn. Stat. § 325F.68(2).

321. Defendants have knowingly, or with reason to know, engaged in unfair and
deceptive practices, fraud, false pretense, false promise, misleading statements, and
misrepresentation, with the intent that others rely thereon in connection with the sale of
prescription drugs, in violation of Minn. Stat. § 325F.69(1).

322. As a direct and proximate result of Defendants’ unlawful methods, acts, and
practices, BCBS Minnesota has suffered significant losses and costs, and will continue to do so.

323. Asa direct and proximate result of Defendants’ unlawful conduct, Plaintiff BCBS

Minnesota is entitled to an award of all damages, including, but not limited to, Plaintiffs losses,

60
Word 20113683.1
Case 1:04-cv-10981-PBS Document 65-5 Filed 03/25/05 Page 10 of 22

Defendants’ ill-gotten profits, treble damages, interest, and reimbursement of all costs, attorneys’
fees, and expenses incurred by Plaintiff in this action.
COUNT XXXVIII

Unfair and Deceptive Trade Practices by Defendants In Violation of the Nebraska
Uniform Deceptive Trade Practices Act on Behalf of Plaintiff Mutual of Omaha

324. Plaintiff Mutual of Omaha incorporates and reavers by reference the averments
contained in the preceding paragraphs 1 through 323.

325. Defendants have knowingly and wilfully violated the Nebraska Uniform
Deceptive Trade Practices Act, Neb. Rev. Stat. §§ 87-301 to -306 (2004).

326. Plaintiff Mutual of Omaha is a “person” within the meaning of Neb. Rev. Stat.
§ 87-301(5).

327. Defendants are “persons,” within the meaning of Neb. Rev. Stat. § 87-301(5).

328. Defendants have violated the Nebraska Uniform Deceptive Trade Practices Act,
Neb. Rev. Stat. § 87-301 to -306, in their course of business by:

(a) | Causing likelihood of confusion or of misunderstanding as to the source,
sponsorship, approval, or certification of goods or services.

(b) Representing that goods or services have sponsorship, approval,
characteristics, ingredients, uses, benefits, or quantities that they do not have.

329, Asa direct and proximate result of Defendants’ deceptive acts and practices in the
conduct of trade or commerce, Plaintiff Mutual of Omaha has suffered significant losses and
costs, and will continue to do so.

330. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiff

Mutual of Omaha is entitled to disgorgement of Defendants’ ill-gotten profits, treble damages,

61
Word 20113683.1

Case 1:04-cv-10981-PBS Document 65-5 Filed 03/25/05 Page 11 of 22

interest, and reimbursement of all costs, attorneys’ fees, and expenses incurred by Plaintiff in this
action.
COUNT XXXIX

Unfair Methods of Competition and Deceptive Practices by Defendants In Violation
of the Nebraska Consumer Protection Act on Behalf of Plaintiff Mutual of Omaha

331. Plaintiff Mutual of Omaha incorporates and reavers by reference the averments
contained in the preceding paragraphs 1 through 330.

332. Defendants have violated the Nebraska Consumer Protection Act, Neb. Rev. Stat.
§§ 59-1601 et seg. (2004), by knowingly, or with reason to know, engaging in unfair methods of
competition or deceptive acts or practices in the conduct of trade or commerce.

333. Plaintiff Mutual of Omaha is a “person,” within the meaning of Neb. Rev. Stat.
§ 59-1601(1).

334. Defendants are “persons,” within the meaning of Neb. Rev. Stat. § 59-1601(1).

335. As a direct and proximate result of Defendants’ unfair methods of competition or
deceptive acts or practices in the conduct of trade or commerce, Plaintiff Mutual of Omaha has
suffered significant losses and costs and will continue to do so.

336. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiff
Mutual of Omaha is entitled to an award of all damages, including, but not limited to, Plaintiff's
losses, Defendants’ ill-gotten profits, interest, and reimbursement of all costs, attorneys’ fees,
and expenses incurred by Plaintiff in this action.

COUNT XL

Unfair and Deceptive Trade Practices by Defendants In Violation of
the New Mexico Unfair Practices Act on Behalf of Plaintiff HCSC

337. Plaintiff HCSC incorporates and reavers by reference the averments contained in

the preceding paragraphs 1 through 336.

62
Word 20113683.1
Case 1:04-cv-10981-PBS Document 65-5 Filed 03/25/05 Page 12 of 22

338. Defendants have violated the New Mexico Unfair Practices Act, N.M. Stat. Ann.
§§ 57-12-1 et seg. (2004), by knowingly, or with reason to know, engaging in unfair and
deceptive trade practices and unconscionable trade practices in the conduct of trade or
commerce.

339. Plaintiff HCSC is a “person,” within the meaning of N.M. Stat. Ann. § 57-12-
2(A).

340. Defendants are “persons,” within the meaning of N.M. Stat. Ann. § 57-12-2(A).

341. Defendants’ acts involved “trade” or “commerce,” within of the meaning of N.M.
Stat. Ann. § 57-12-2(C).

342. Defendants’ acts constituted “unfair or deceptive trade practices,” within of the
meaning of N.M. Stat. Ann. § 57-12-2(D).

343. Defendants have engaged in unfair and deceptive trade practices and
unconscionable trade practices in the conduct of trade or commerce knowingly, or with reason to
know, by:

(a) Making false or misleading oral or written statements or representations in
connection with the sale of goods, in violation of N.M. Stat. Ann. § 57-12-2(D);
(b) Representing that goods had sponsorship or approval that they did not
have and representing that Defendant had sponsorship, approval, status, affiliation, or
. connection, that they did not have, in violation of N.M. Stat. Ann. § 57-12-2(D)(5);
(c) | Engaging in unconscionable trade practices, by taking advantage of the

lack of knowledge of Plaintiffs to a grossly unfair degree in connection with the sale of

goods.

63
Word 20113683.1
Case 1:04-cv-10981-PBS Document 65-5 Filed 03/25/05 Page 13 of 22

344. Asa direct and proximate result of Defendants’ deceptive acts and practices in the
conduct of business, trade, or commerce, Plaintiff HCSC has suffered significant losses and
costs, and will continue to do so.

345. Asa direct and proximate result of Defendants’ unlawful conduct, Plaintiff HCSC
is entitled to an award of all damages, including, but not limited to, Plaintiff's losses,
Defendants’ ill-gotten profits, treble damages, interest, and reimbursement of all costs, attorneys’
fees, and expenses incurred by Plaintiff in this action.

COUNT XLI

Unfair and Deceptive Trade Practices by Defendants In Violation of the New York
Deceptive Acts and Practices Law on Behalf of Plaintiffs WellChoice and Excellus

346. Plaintiffs WellChoice and Excellus incorporate and reavers by reference the
averments contained in the preceding paragraphs 1 through 345,

347. Defendants have violated the New York Deceptive Acts and Practices Law, N.Y.
Gen Bus, Law § 349 et seq. (2004), by engaging in deceptive acts and practices in the conduct of
business, trade, or commerce.

348. Asa direct and proximate result of Defendants’ deceptive acts and practices in the
conduct of business, trade, or commerce, Plaintiffs have suffered significant losses and costs, and
will continue to do so.

349. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs are
entitled to an award of all damages, including, but not limited to, Plaintiffs’ losses, Defendants’
ill-gotten profits, treble damages, interest, and reimbursement of all costs, attorneys’ fees, and

expenses incurred by Plaintiffs in this action.

64
Word 20113683.1
Case 1:04-cv-10981-PBS Document 65-5 Filed 03/25/05 Page 14 of 22

COUNT XLII

Unfair and Deceptive Trade Practices by Defendants In Violation of the
Oklahoma Consumer Protection Act on Behalf of Plaintiff BCBS Oklahoma

350. Plaintiff BCBS Oklahoma incorporates and reavers by reference the averments
contained in the preceding paragraphs 1 through 349.

351. Defendants have violated the Oklahoma Consumer Protection Act, Okla. Stat.
tit. 15, §§ 751 et seg. (2004), by knowingly, or with reason to know, engaging in deceptive and
unfair trade practices in the course of Defendants’ business.

352. Plaintiff BCBS Oklahoma is a “person,” within the meaning of Okla. Stat. tit. 15
§ 752(1).

353. Defendants are “persons,” within the meaning of Okla. Stat. tit. 15 § 752(1).

354. Neurontin and generic bioequivalents of Neurontin are “merchandise” within the
meaning of Okla. Stat. tit. 15 § 752(5).

355. Defendants acted in connection with “consumer transactions,” within of the
meaning of Okla. Stat. tit. 15 § 752(2).

356. Defendants have engaged in deceptive and unfair trade practices, as those terms
are defined by Okla. Stat. tit, 15 §§ 752(11)-(12) by knowingly, or with reason to know, and in
the course of Defendants’ business:

(a) Making a false or misleading representation as to the sponsorship,
approval, or certification of the subject of a consumer transaction, in violation of Okla.

Stat. tit. 15 § 753(2);

(b) Making a false or misleading representation as to the affiliation,

connection, association with, or certification by another, in violation of Okla. Stat. tit. 15

§ 753(3);

65
Word 20113683.1
Case 1:04-cv-10981-PBS Document 65-5 Filed 03/25/05 Page 15 of 22

(c) Committing unfair or deceptive trade practices as those terms are defined

by Okla. Stat. tit. 15 §§ 752(11)-(12), in violation of Okla. Stat. tit. 15 § 753(20).

357. As a direct and proximate result of Defendants’ unfair or deceptive trade
practices, BCBS Oklahoma has suffered significant losses and costs, and will continue to do so.

358. Asa direct and proximate result of Defendants’ unlawful conduct, Plaintiff BCBS
Oklahoma is entitled to an award of all damages, including, but not limited to, Plaintiff's losses,
Defendants’ ill-gotten profits, interest, and reimbursement of all costs, attorneys’ fees, and
expenses incurred by Plaintiff in this action.

COUNT XLII

Unfair and Deceptive Trade Practices by Defendants In Violation of the Oklahoma
Deceptive Trade Practices Act on Behalf of Plaintiffs BCBS Oklahoma

359. Plaintiff BCBS Oklahoma incorporates and reavers by reference the averments
contained in the preceding paragraphs 1 through 358.

360. Defendants have violated the Oklahoma Deceptive Trade Practices Act, Okla.
Stat. tit. 78, §§ 52 et seq. (2004), by knowingly, or with reason to know, engaging in deceptive
trade practices in the course of their businesses.

361. Plaintiff BCBS Oklahoma is a “person,” within the meaning of Okla. Stat. tit. 78,
§ 52(8).

362. Defendants are “persons,” within the meaning of Okla. Stat. tit. 78, § 52(8).

363. Defendants have engaged in deceptive trade practices by knowingly, or with
reason to know, in the course of Defendants’ businesses:

(a) Making a false representation as to the source, sponsorship, approval, or

certification of goods.

66
Word 201 13683.1
Case 1:04-cv-10981-PBS Document 65-5 Filed 03/25/05 Page 16 of 22

(b) Making a false representation as to affiliation, connection, or association
with or certification by another.

364. Asa direct and proximate result of Defendants’ deceptive trade practices, Plaintiff
BCBS Oklahoma has suffered significant losses and costs and will continue to do so.

365. Asa direct and proximate result of Defendants’ unlawful conduct, Plaintiff BCBS
Oklahoma is entitled to an award of all damages, including, but not limited to, Plaintiff's losses,
Defendants’ ill-gotten profits, interest, and reimbursement of all costs, attorneys’ fees, and
expenses incurred by Plaintiff in this action.

COUNT XLIV

Tortious Interference with Business Relationship or Prospective Economic
Advantage by Defendants Under State Law on Behalf of All Plaintiffs

366. Plaintiffs incorporate and reaver by reference the averments contained in the
preceding paragraphs | through 365.

367. Plaintiffs had a reasonable and well-founded expectation of prospective economic
advantage and access to lower-cost Neurontin or generic bioequivalents of Neurontin based on
the expiration or invalidity of patents and a reasonable and well-founded expectation of future
business relationships with pharmaceutical benefit management companies and/or pharmacies
that would include lower-cost Neurontin or generic bioequivalents of Neurontin.

368. With knowledge of such expectancy and potential relationships and without
justification, Defendants intentionally and tortiously interfered with Plaintiffs’ expectation of
prospective economic advantage from lower-cost Neurontin or generic bioequivalents of
Neurontin and interfered with Plaintiffs’ future business relationships with pharmaceutical

benefit management companies and/or pharmacies.

67

Word 201 13683.1
Case 1:04-cv-10981-PBS Document 65-5 Filed 03/25/05 Page 17 of 22

369. Defendants’ interference was improper, unfair, deceptive, bad faith, and illegal,
and includes, but is not limited to, the conduct described in this Complaint and incorporated
herein by reference.

370. But for Defendants’ interference with Plaintiffs’ well-founded expectation of
prospective economic advantage and business relationships, Plaintiffs would have paid a lower
cost for Neurontin and generic bioequivalents of Neurontin. As a direct and proximate cause of
Defendants’ actions, Plaintiffs have and will pay supra-competitive and inflated prices for
Neurontin, have been denied access to a generic bioequivalent of Neurontin, and have been
prevented from realizing the benefits of future business relationships related to that expectancy.

371. Plaintiffs have sustained injury by such unlawful interference and are entitled to
receive damages in the amount of the prospective economic benefit and business relationships
that Plaintiffs would have realized absent Defendants’ conduct, and Plaintiffs further seek to
obtain monetary relief for damages and recovery of all additional costs incurred as a result of
Defendants’ conduct, such as attorney’s fees, related legal expenses, reasonable investigative
fees, interest, and other relief identified below by pleading, in the alternative, that no adequate
remedy at law exists.

COUNT XLV

Unjust Enrichment by Defendants Under State Law on Behalf of All Plaintiffs

372. Plaintiffs incorporate and reaver by reference the averments contained in the
preceding paragraphs 1 through 371.

373. At Plaintiffs’ expense, Defendants have received a benefit that under the
circumstances would make it unjust for defendants to retain the benefit. Specifically, Defendants
have engaged in an illegal and fraudulent scheme to sell Neurontin or generic bioequivalents of
Neurontin at supra-competitive or inflated rates, to undermine and illegally interfere with

68
Word 20113683.1
Case 1:04-cv-10981-PBS Document 65-5 Filed 03/25/05 Page 18 of 22

competitors, and to make representations about Neurontin that are false, deceptive, and
misleading.

374. As a direct and proximate cause of Defendants’ actions, Plaintiffs have
unnecessarily paid supra-competitive or inflated prices for Neurontin and purchased Neurontin
for treatments and purposes that, absent Defendants’ conduct, Plaintiffs would not have
purchased.

375. But for Defendants’ conduct, Plaintiffs would not have conferred a benefit upon
Defendants and Defendants would not have been unjustly enriched. The benefit received by
Defendants is directly related to and flows from Plaintiffs’ payment of supra-competitive or
inflated prices for Neurontin or generic bioequivalents of Neurontin and unnecessary purchase of
Neurontin caused by Defendants’ false, deceptive, and misleading representations and illegal
scheme.

376. Privity exists between Plaintiffs and Defendants, and Defendants have received
money or benefits that Defendants knew and have known does not rightfully belong to them and,
in fact, belongs to Plaintiffs. Restitution and repayment of this money or disgorgement of the
unlawful benefits received is necessary to avoid injury to Plaintiffs, is consistent with traditional
equitable principles established at law, and will prevent Defendants from retaining money or
benefits that they cannot in good conscience retain.

377. Asa direct and proximate cause of Defendants’ wrongful conduct, Plaintiffs seek
restitution and recovery of all monies and benefits unjustly retained by defendants, the
disgorgement of any payments, bonuses, or inequitably obtained funds, and the recovery all

additional costs incurred, including, but not limited to, attorneys’ fees, reasonable investigative

69

Word 20113683.1
Case 1:04-cv-10981-PBS Document 65-5 Filed 03/25/05 Page 19 of 22

fees, and other relief identified below by pleading, in the alternative, that no adequate remedy at
law exists.
PRAYER FOR RELIEF
WHEREFORE, Plaintiffs pray for judgment against Defendants for the following relief:

A. A declaration that Defendants have committed the violations
alleged herein;

B. A judgment against Defendants, jointly and severally, for the
damages suffered by Plaintiffs and for any additional damages, penalties and other
monetary relief provided by applicable law, including treble and/or punitive damages and
all interest accruing thereon;

C. Enjoin Defendants from continuing the illegal activities alleged
herein;

D. Disgorgement of Defendants’ unjust enrichment, together with all

interest accruing thereon;

E. Grant Plaintiffs the costs of this suit, including reasonable
attorneys’ fees and expenses as provided by law; and

F, Such other and further relief as the Court deems just and proper.

BUDD LARNER

David J. Novack | ¥
150 JFK Parkway
Short Hills, NJ 07078
Telephone: (973) 379-4800
Facsimile: (973) 379-7734

70
Word 20113683.1
Case 1:04-cv-10981-PBS Document 65-5 Filed 03/25/05 Page 20 of 22

Dated: November 24, 2004.

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JURY DEMAND

Plaintiffs demand a trial by jury of all issues so triable.

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71
Case 1:04-cv-10981-PBS Document 65-5 Filed 03/25/05 Page 21 of 22

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CERTIFICATION PURSUANT TO R. 4:5-1(b)(2)

I hereby certify that the matter in controversy is not the subject of any other action
pending. in any other court, or of any pending arbitration proceeding and that no such
other action or arbitration proceeding is contemplated. I further certify that there are no
other parties who should be joined in the action pursuant to R. 4:28 or who are subject to
joinder because of potential liability to any party on the basis of the same transactional

facts.

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Dated: November 24, 2004.

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